






NO. 07-02-0426-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL E



DECEMBER 31, 2002



______________________________




AMANDA S. HOBGOOD, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE



	

_________________________________



FROM THE 140TH DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2001-438167; HONORABLE JIM BOB DARNELL, JUDGE



_______________________________



Before REAVIS and JOHNSON, JJ., and BOYD, S.J. (1)

	Appellant Amanda Sue Hobgood appeals a conviction for manufacture/delivery of
a controlled substance.  We dismiss for want of jurisdiction.


BACKGROUND

	Amanda Sue Hobgood was convicted of manufacture/delivery of a controlled
substance, to wit: methamphetamine PG1 less than 200 grams but at least 4 grams.  On
September 6, 2002, she was sentenced to 17 years in the Texas Department of Criminal
Justice-Institutional Division.  On October 8, 2002, she filed a notice of appeal. 

LAW

	In a criminal case, appeal is perfected by timely filing a notice of appeal.  Tex. R.
App. P. 25.2(a). (2)  The notice of appeal must be filed within 30 days after the day sentence
is imposed or after the day the trial court enters an appealable order, unless a timely
motion for new trial is filed. TRAP  26.2(a).  A motion for new trial may be filed by a criminal
defendant no later than 30 days after the date sentence is imposed in open court.  TRAP
21.4(a).  The time for filing a notice of appeal may be extended for 15 days under certain
circumstances. TRAP 26.3.  If the time for filing a notice of appeal is to be extended, both
a notice of appeal and a motion for extension of time which complies with TRAP 10.5(b)
must be filed within the 15 day period.  TRAP 26.3;  Olivo v. State, 918 S.W.2d 519, 523-25 (Tex.Crim.App. 1996).  

	An untimely-filed notice of appeal will not invoke the jurisdiction of the court of
appeals.  See State v. Riewe, 13 S.W.2d 408, 411 (Tex.Crim.App. 2000).  Thus, if an
appeal is not timely perfected, a court of appeals does not have jurisdiction to address the
merits of the appeal, and can take no action other than to dismiss the appeal.  Slaton v.
State, 981 S.W.2d 208, 210 (Tex.Crim.App. 1998); Olivo, 918 S.W.2d at 523-25.

ANALYSIS AND CONCLUSION

	Appellant's notice of appeal was not timely filed.  A motion to extend time to file the
notice of appeal was not filed.  Accordingly, this court does not have jurisdiction over the
appeal.  Slaton, 981 S.W.2d at 210; Olivo, 918 S.W.2d at 523.  

	The appeal is dismissed for want of jurisdiction.  TRAP 39.8, 40.2, 43.2. 


								Phil Johnson

								    Justice




Do not publish.

1. John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by
assignment.  
2. Further references to a Rule of Civil Procedure will be by reference to "TRAP
____."

